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                           UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA



JANE DOE as next friend for “FIONA,” a minor,                Civ. No. 16-cv-00303-DSC
“ERIN,” “VICKY,”
JANE ROE as next friend for                                  DECLARATION OF
“SKYLAR” and “SAVANNAH,” minors,                             JAMES R. MARSH
JOHN DOE as next friend for “SALLY”                          IN SUPPORT OF PETITION
and “SIERRA,” minors, and “SARAH”                            TO APPROVE MINOR
                                                             PLAINTIFF FIONA’S
                                        Plaintiffs,          SETTLEMENT AND ENTER
v.                                                           AN ORDER OF DISMISSAL

KIRK NESSET,
                                        Defendant.


       I, JAMES R. MARSH, declare under penalty of perjury that the following is true and

correct:

1.     I am an attorney licensed to practice law in the State of New York and the District of

       Columbia.

2.     I am making this declaration based upon my own personal knowledge and professional

       experience as an attorney, in support of the Plaintiffs’ petition to approve the settlement

       of this matter and for an order of dismissal.

3.     In 2005, I began representing victims of child pornography and online exploitation. I

       have represented such victims in both criminal and civil cases at all levels of the federal

       court system including the United States Supreme Court. I have also helped enact major

       law reform in Congress to enhance the ability of victims to obtain compensation in civil

       and criminal child pornography cases.

4.     I have represented the minor Plaintiff “Fiona” since 2013 in both criminal and civil

       matters related to her victimization through child pornography.



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5.    Fiona lives outside Pennsylvania and is not subject to either guardian or conservatorship

      proceedings.

6.

7.    “Jane Doe” is Fiona’s mother and custodial parent and is Fiona’s next friend in this

      proceeding. I have communicated with her concerning this matter and she is in agreement

      with the proposed settlement.

8.



9.    The amount of the settlement in this case is similar to the amounts many of my child

      pornography clients have received in other similar cases.

10.   Given the circumstances of this case and the Defendant’s limited financial resources, I

      believe that this is a reasonable settlement which is in the best interests of Fiona. This is

      my independent judgment based on my knowledge and experience with other similar

      cases.

11.   As stated above, I have been Fiona’s attorney for five years. As part of our retention, we

      provide wide-ranging legal services to Fiona. We review hundreds of potential cases per

      year for both civil litigation and criminal restitution. Only a small fraction of the potential

      civil cases we review are ever pursued since most of the defendants in federal child

      pornography cases are indigent. In this case, our firm worked extensively with local,

      state, and federal law enforcement to obtain the necessary evidence of the Defendant’s

      possession of Fiona’s child pornography images which is required to successfully pursue

      civil cases under 18 U.S.C. 2255. We also worked with the National Center for Missing

      and Exploited Children to obtain evidence concerning their statutorily mandated role in




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      these cases. We prepared a full set of discovery requests and responded to the

      Defendant’s discovery requests including an extensive Rule 26 disclosure. I also travelled

      from New York to Pittsburgh to engage in a full day of settlement negotiations with

      Judge Kenneth Benson. We also prepared a mediation memo for that session.

12.



13.



14.   I respectfully ask the Court to approve the settlement of this matter along with the

      associated attorney’s fees and expenses, and for an order of dismissal.

      Executed on October 3, 2018




                                             James R. Marsh
                                             New York Bar 2404853
                                             MARSH LAW FIRM PLLC




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